      Case: 1:19-cv-01765 Document #: 48 Filed: 07/28/19 Page 1 of 1 PageID #:477




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Crave Products, Inc.                            )
                                                )      Case No. 1:19-cv-1765
v.                                              )
                                                )      Judge: Hon. Gary Feinerman
THE PARTNERSHIPS and                            )
UNINCORPORATED ASSOCIATIONS                     )      Magistrate: Hon. Susan E. Cox
Hon. IDENTIFIED ON SCHEDULE “A”                 )
                                                )


                                SATISFACTION OF JUDGEMENT

           Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe       Store Name                Store ID
     537   etbas_0                   etbas_0
     617   t0m08                     t0m08
     661   bigcompany                53082ea15aefb07dfe1f2a4f



dismisses them from the suit with prejudice.

Dated this 28th Day of July, 2019.              Respectfully submitted,


                                                By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record
                                                       Counsel for Plaintiff

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